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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                                Eastern Division

Lisa Pineda
                                         Plaintiff,
v.                                                       Case No.: 1:21−cv−00462
                                                         Honorable Thomas M. Durkin
Aetna Better Health of Illinois, Inc.
                                         Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, June 9, 2021:


        MINUTE entry before the Honorable Thomas M. Durkin: A stipulation to dismiss
has been filed. Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), Plaintiff's
individual claims are dismissed with prejudice, with each party to bear its own attorneys'
fees and costs. Class claims are dismissed without prejudice pursuant to Fed. R. Civ. P.
23(e). All pending dates before this court are stricken. Civil case terminated. Mailed
notice. (ecw, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
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